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                      EXHIBIT C
Case:
 Case:1:17-md-02804-DAP
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                          Doc#:#:4441-3
                                  4318 Filed:
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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION



 IN RE: NATIONAL PRESCRIPTION OPIATE
 LITIGATION                                                                                        MDL No. 2804



                                        (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO í217)



 On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for the
 Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.
 See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 2,158 additional action(s) have been transferred to
 the Northern District of Ohio. With the consent of that court, all such actions have been assigned to the
 Honorable Dan A. Polster.
 It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
 actions previously transferred to the Northern District of Ohio and assigned to Judge Polster.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
 the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of Ohio
 for the reasons stated in the order of December 5, 2017, and, with the consent of that court, assigned to the
 Honorable Dan A. Polster.

 This order does not become effective until it is filed in the Office of the Clerk of the United States District
 Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be stayed 7 days from
 the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7íday period,
 the stay will be continued until further order of the Panel.



                                                             FOR THE PANEL:


                                   Mar 21, 2022
                                                             John W. Nichols
                                                             Clerk of the Panel
Case:
 Case:1:17-md-02804-DAP
       1:17-md-02804-DAP Doc
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                                                05/10/22 23ofof2.3. PageID
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 IN RE: NATIONAL PRESCRIPTION OPIATE
 LITIGATION                                                                         MDL No. 2804



                       SCHEDULE CTOí217 í TAGíALONG ACTIONS



    DIST      DIV.        C.A.NO.        CASE CAPTION


 ALABAMA SOUTHERN

                                         The City of Gulf Shores, Alabama v. Amerisourcebergen
    ALS         1        22í00102        Drug Corporation et al
